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Exhibit C



                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA

TYJUAN WATERS, Reg. No.: 68346-066,                  )
RICHARD TURNBO, Reg. No.: 31864-380,                 )
JAMES B. TILSON, Reg. No.: 14182-704,                )
DAVID TAYLOR, Reg. No.: 54549-019,                   )
QUENTEN T. SIMS, Reg. No.: 42898-083,                )
DAVID SALAS, Reg. No.: 63811-019,                    )
GUSTAVO SAMINO, Reg. No.: 59683-308,                 )
DE’ANDRE ROBERTSON, Reg. No.: 21813-045,             )
PABLO QUINCASA, Reg. No.: 54781-177,                 )
WILLIAM PAVA, Reg. No.: 59205-019,                   )
DWIGHT OWENS, Reg. No.: 60985-019,                   )
CARLOS ORTIZ, Reg. No.: 43658-007,                   )
MARQUISE MURPHY, Reg. No.: 64529-019,                )
ANDREW MOORE, Reg. No.: 51274-019,                   )
EMMANUEL MENDOZA, Reg. No.: 22698-078,               )
FA’RD RASUL N. JONES, Reg. No.: 65360-050,           )
JEFFERY S. JOHNSON, Reg. No.: 35681-066,             )
MARVIN ISAAC, Reg. No.: 32075-177,                   )
ALONZO HOUSTON, Reg. No.: 14598-001,                 )
BOBBY E. HAZEL, Reg. No.: 41097-133,                 )
JOSE GUERRERO, Reg. No.: 10879-033,                  )
ABIZAHI R. GUARDUNO, Reg. No.: 26772-171,            )
CHARLES GLOVER, Reg. No.: 96094-020,                 )
DAVID GARCIA FRANDO, Reg. No.: 45965-069,            )
CHARLES DOBBINS, Reg. No. 31296-009,                 )
ARLANDUS DICKERSON, Reg. No.: 69839-019,             )
JESUS CORRALEZ FOZ, Reg. No.: 88366-008,             )   CIVIL ACTION NO:
RAYMOND COLLINS, Reg. No.: 71190-158,                )   2021CV347876
TERRANCE L. COLE, Reg. No.: 04483-748,               )
JAMES COLE, Reg. No.: 41167-066,                     )
EVANDA BUXTON, Reg. No.: 60647-019,                  )
CEPEDA BROUGHTON, Reg. No.: 85513-020,               )
JOSE BEIZA MONTEZ, Reg. No.: 21434-081,              )
DAVID ARANDA, Reg. No.: 75369-275,                   )
JOHN E. ADAMS, Reg. No.: 00874-123, and              )
JAMAL ABUS SAMAK, Reg. No.: 21826-034,               )
                                                     )
                           Plaintiffs,               )
                                                     )
v.                                                   )
                                                     )
CITY OF ATLANTA,                                     )
                                                     )
            Case 1:21-cv-01830-SDG Document 1 Filed 05/03/21 Page 2 of 4
Exhibit C



                              Defendant.                         )

              DEFENDANT’S NOTICE OF FILING NOTICE OF REMOVAL

       Defendant City of Atlanta (the “City”), by and through its undersigned counsel, hereby

notifies the Court that on May 3, 2021, and within thirty (30) days of the City having received

service of the Complaint for Damages and Other Relief in this matter on April 7, 2021, it filed in

the United States District Court for the Northern District of Georgia, Atlanta Division, Defendant’s

Notice of Removal of the above-captioned action. A copy of the Notice of Removal is attached

hereto as Exhibit A.

       Pursuant to 28 U.S.C. § 1446(d), the Superior Court of Fulton County, Georgia, shall

proceed no further with the above-captioned case unless and until the case is remanded.


       This 3rd day of May 2021.

                                                     Respectfully submitted,

                                                     /s/ Alisha Marie S. Nair
                                                     ALISHA MARIE S. NAIR
                                                     Attorney
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                                                     JOSHUA FOSTER
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                                                     MICHAEL WYNTER
                                                     Assistant City Attorney II
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                                                     mwynter@atlantaga.gov

City of Atlanta Department of Law
55 Trinity Avenue, Suite 5000
Atlanta, Georgia 30303
Office: 404-546-4185
Fax: 404-588-3239




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CITY OF ATLANTA,                                     )
                                                     )

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            Case 1:21-cv-01830-SDG Document 1 Filed 05/03/21 Page 4 of 4
Exhibit C



                              Defendant.                        )


                                CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2021 the foregoing DEFENDANT’S NOTICE OF

FILING NOTICE OF REMOVAL was electronically filed and that all parties listed below were

served electronically via Odyssey e-file system:


                                   JAMES FREEMAN
                 3867 Holcomb Bridge Road Suite 500 Norcross, Georgia 30092
                              James.freeman@lawmanpc.com



                                                       /s/ Alisha Marie S. Nair
                                                       ALISHA MARIE S. NAIR
                                                       Attorney
                                                       Georgia Bar No. 806033
                                                       amnair@atlantaga.gov
City of Atlanta Department of Law
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